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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          CR. NO. 11-00937 SOM
                               )
           Plaintiff,          )          ORDER GRANTING DEFENDANT’S
                               )          MOTION TO REDUCE SENTENCE
                               )
                               )
      vs.                      )
                               )
 DAVID VERDEN WILLIAMS, JR.,   )
                               )
           Defendant.          )
                               )
 _____________________________ )

        ORDER GRANTING DEFENDANT’S MOTION TO REDUCE SENTENCE

 I.         INTRODUCTION AND BACKGROUND.

            In 2013, pursuant to a plea agreement, Defendant David

 Verden Williams, Jr., entered a plea of guilty to bank robbery in

 violation of 18 U.S.C. § 2113(a).        ECF No. 68.    With his status

 under the guidelines as a career offender, his recommended

 guideline range was between 151 and 188 months.          See ECF No. 211,

 PageID # 1066.    On December 20, 2013, the court sentenced

 Williams to the bottom of that range, imposing a sentence of 151

 months in prison, to be followed by three years of supervised

 release.   ECF Nos. 77, 79.     He has served approximately 128

 months of that sentence.      See ECF No. 3.

            Williams now moves for a reduction in sentence under 18

 U.S.C. § 3582(c)(1)(A).      He argues that if he had been sentenced

 under today’s law, he likely would have received a significantly

 shorter sentence.     ECF No. 211, PageID # 1073.       Specifically, he
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 contends (and the Government agrees) that under the First Step

 Act, he would no longer be designated as a career offender, and

 as a result his guidelines range would be between 57 and 71

 months.    ECF No. 211, PageID # 1073; ECF No. 217, PageID # 1223.

 The substantial disparity between the sentence that Williams has

 already served and the sentence that he would have received under

 today’s law, coupled with his medical circumstances, is an

 extraordinary and compelling reason that warrants a reduction in

 his sentence.    Williams’s motion to reduce his sentence is

 granted.

 II.        ANALYSIS.

            Williams’s motion to reduce his sentence is governed by

 18 U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--

            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

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 In other words, for the court to exercise its authority under

 § 3582(c)(1)(A), it must (1) find that the defendant exhausted

 his administrative remedies or that 30 days have passed since he

 filed an administrative compassionate relief request; (2) also

 find, after considering the factors set forth in section 3553(a),

 that extraordinary and compelling reasons warrant a sentence

 reduction; and (3) find that such a reduction is consistent with

 the Sentencing Commission’s policy statements (assuming there are

 any policy statements applicable to this motion).          See United

 States v. Balgas, 2021 WL 2582573, at *1 (D. Haw. June 23, 2021)

 United States v. Scher, 2020 WL 3086234, at *2 (D. Haw. June 10,

 2020).

             A.   Williams Has Satisfied the Time-lapse Requirement
                  of 18 U.S.C. § 3582(c)(1)(A).

             On February 15, 2022, Williams asked the warden at his

 facility for compassionate release.        See ECF No. 211, PageID #

 1073.    More than 30 days have now passed since Williams asked his

 warden for compassionate release, and there is no dispute that

 Williams has satisfied the time-lapse requirement of 18 U.S.C.

 § 3582(c)(1)(A).

             B.   This Court Has Discretion in Determining Whether
                  Extraordinary and Compelling Reasons Justify a
                  Reduced Sentence.

             This court turns to § 3582(c)(1)(A)’s second

 requirement: whether extraordinary and compelling reasons warrant



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 a sentence reduction.      In orders addressing compassionate release

 motions in other cases, this judge has expressly recognized that

 it possesses considerable discretion in determining whether a

 particular defendant has established the existence of

 extraordinary and compelling reasons that justify early release.

            This judge has also stated that, in reading

 § 3582(c)(1)(A) as providing for considerable judicial

 discretion, she is well aware of the absence of an amended policy

 statement from the Sentencing Commission reflecting the

 discretion given to courts when Congress amended the statute to

 allow inmates themselves to file compassionate release motions.

 Balgas, 2021 WL 2582573, at *2; United States v. Mau, 2020 WL

 6153581 (D. Haw. Oct. 20, 2020); United States v. Scher, 2020 WL

 3086234, at *2 (D. Haw. June 10, 2020); United States v.

 Cisneros, 2020 WL 3065103, at *2 (D. Haw. Jun. 9, 2020); United

 States v. Kamaka, 2020 WL 2820139, at *3 (D. Haw. May 29, 2020).

 Specifically, this court has recognized that an Application Note

 to a relevant sentencing guideline is outdated.          This court

 continues to view its discretion as not limited by Sentencing

 Commission pronouncements that are now at odds with the

 congressional intent behind recent statutory amendments.            Balgas,

 2021 WL 2582573, at *2; see also United States v. Brooker, 976

 F.3d 228, 235-36 (2d Cir. 2020) (“[W]e read the Guideline as

 surviving, but now applying only to those motions that the BOP


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 has made.”); cf. United States v. Ruffin, 978 F.3d 1000, 1007-08

 (6th Cir. 2020) (noting that some courts have held that the

 Application Note is not “applicable,” but not deciding the

 issue).

            The Ninth Circuit has expressly recognized that there

 is no applicable Sentencing Commission policy statement governing

 compassionate release motions filed by defendants under

 § 3582(c)(1)(A).     Nevertheless, while the Sentencing Commission’s

 statements in U.S.S.G § 1B1.13 are not applicable policy

 statements that are binding on this court, they may inform this

 court’s discretion.     See United States v. Aruda, 993 F.3d 797,

 801-02 (9th Cir. 2021) (per curiam).

            C.     Williams Has Demonstrated That Extraordinary and
                   Compelling Circumstances Justify a Reduction in
                   His Sentence.

            Williams contends that his sentence should be reduced

 because of the “tremendous disparity between the 151-month

 sentence that [he] is serving and the sentence that he would

 likely [have received] today.”       ECF No. 211, PageID # 1082.       This

 court agrees.

            This court has addressed similar arguments on several

 occasions.      See, e.g., United States v. Lavatai, 2020 WL 4275258,

 at *3 (D. Haw. July 24, 2020); United States v. Cisneros, 2020 WL

 3065103, at *3 (D. Haw. June 9, 2020).        As discussed in those

 orders, because Congress chose not to make the First Step Act

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 retroactive, the fact that a defendant would have received a

 shorter sentence if he had been sentenced after the passage of

 that Act, standing alone, might not justify a reduction in

 sentence.    Cisneros, 2020 WL 3065103, at *3.       But, “a change in

 the law may be a relevant consideration in determining whether

 extraordinary and compelling circumstances justify a defendants’

 release,” Lavatai, 2020 WL 4275258, at *3, and a reduction in

 sentence may be warranted if “other factors also support[] an

 early release.”     Cisneros, 2020 WL 3065103, at *3.       For instance,

 a defendant may prevail by establishing that “he ha[d] already

 served a considerably longer sentence than he would [have

 received] today,” depending on the other circumstances of the

 case.   Id.; see also United States v. McCoy, 981 F.3d 271, 285–86

 (4th Cir. 2020) (“We think courts legitimately may consider,

 under the ‘extraordinary and compelling reasons’ inquiry, that

 defendants are serving sentences that Congress itself views as

 dramatically longer than necessary or fair.”).

             Williams has made such a showing here.        There is no

 dispute that he has served a considerably longer sentence than he

 would have received under today’s law.        He has already served

 approximately 126 months of his sentence, but, as the Government

 concedes, under today’s law his guidelines range would only have

 been between 57 months and 71 months.        ECF No. 211, PageID #

 1073; ECF No. 217, PageID # 1223.


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            In its opposition, the Government expressed concern

 about Williams’s history of violence.        ECF No. 217, PageID #

 1209-15.   At the hearing on this matter, however, both parties

 agreed that Williams’s violent behavior is a symptom of his

 mental illnesses.     The parties further agreed that Williams does

 not appear to pose a threat to others if he continues to take his

 prescribed medication.      He has behaved well during the last year

 of his incarceration because he has continued to take that

 medication.    This court has some assurance that he will continue

 to take that medication, as Williams has stipulated to a

 modification of the terms of his supervised release that requires

 him to continue to take the medication prescribed by his treating

 physicians.    Indeed, this court views Williams’s commitment to

 receiving treatment for his mental illnesses as a positive step

 that demonstrates that he is working towards his rehabilitation.

            In sum, as this court stated at the hearing, after

 considering the substantial disparity between the sentence that

 Williams has already served and the sentence that he would have

 received today, and also considering Williams’s medical

 circumstances and his recent efforts to receive mental health

 treatment, this court finds that extraordinary and compelling

 reasons justify a reduction in Williams’s sentence.             The motion

 to reduce sentence is granted.




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 III.        CONCLUSION.

             Williams’s motion to reduce his sentence is granted.

 It is further ordered that:

             1.    Williams’s sentence of incarceration is reduced to
                   time served.

             2.    This order is stayed for 60 days, allowing for
                   Williams to remain in BOP custody, to give
                   Williams time to be accepted and to have a
                   confirmed bed space at a Residential Reentry
                   Center (RRC) located in the Northern District of
                   California, and to make appropriate travel
                   arrangements. Williams shall be released as soon
                   as a bed space is available at an RRC in the
                   Northern District of California and appropriate
                   travel arrangements are made. Williams will reside
                   at the RRC as a special condition of supervised
                   release. If more than 60 days are needed to ensure
                   Williams’s appropriate release to the RRC, the
                   parties shall immediately notify the Court and
                   show cause why the stay should be extended.

             3.    Upon release from custody, Williams shall commence
                   serving his 3-year term of supervised release as
                   previously imposed and shall abide by all
                   mandatory, standard, and special conditions as
                   approved by the court as of May 31, 2022.

             It is so ordered.

             DATED: Honolulu, Hawaii, May 31, 2022.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge




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